           Case 3:06-cr-01194-BTM                     Document 118               Filed 01/07/15             PageID.579             Page 1 of 5
     ~AO 245B (CASD) (Rev. 8/11)    Judgment in a Criminal Case
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                                                                                                                                                              "


                Sheet 1
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                                                                                                                                                                                 "-'1


                                                                                                                                          JAN f- 2015
                                              UNITED STATES DISTRICT COURT
                                                                                                                                 '.11 'l';" ~•. '                    'I ," ~ .        ~. ','>'

                                                   SOUTHERN DISTRICT OF CALIFORNIA,,~. ", OW,",", .'f ';'\'i:~~~::\                                                                              :,:
                     UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE                                                                           .
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                    JAVIER RODRIGUEZ-ZAPIEN [2]                                      Case Number: 06CR1194-BTM
                                                                                     JOHN KIRBY
                                                                                     Defendant's Attorney
    REGISTRATION NO, 28408298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) _I_O_F_T_H_E_IN_D_IC_T_M_EN_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                           Count
    Title & Section                          Nature of Offense                                                                                            Number(s)
21 USC 846, 841(a)(I);                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE, COCAINE AND                                                               I
                                      MARIJUANA




         The defendant is sentenced as provided in pages 2 through               5          of this judgment. The sentence is imposed pursuant
, to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                            --------------------------------------
 o   Count(s)                                                          0              is        areO dismissed on the motion of the United States.
 181 Assessment: $100 to be paid at the rate of $25,00 per quarter through the Inmate Financial Responsibility Program,

  181 See fine page                                 o   Forfeitnre pursuant to order filed _ _ _ _ _ _ _ _ _ , incorporated herein,
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               NOVEMBER 24, 2014




                                                                              HON.BAY TED MOSKOWITZ
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                                  06CR1l94-BTM
      Case 3:06-cr-01194-BTM                   Document 118           Filed 01/07/15           PageID.580          Page 2 of 5
AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment - Page __2;;....._ of   5
 DEFENDANT: JAVIER RODRIGUEZ-ZAPIEN [2]
 CASE NUMBER: 06CR1l94-BTM
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SEVENTY -EIGHT (78) MONTHS.




      o Sentence imposed pursuant to Title 8 USC Section I326(b).                               ~~
                                                                                                 UNITED STATES DISTRICT JUDGE
      181 The court makes the following recommendations to the Bureau of Prisons:
          That the defendant participate in the 500 hour RDAP program. That the defendant serve his sentence at an institution in
          Southern California to facilitate family visits.



      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                   Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before ---------------------------------------
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at                                                  with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                      By _ _ _ _~~~~~~~~~~-------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                           06CR1l94-BTM
        Case 3:06-cr-01194-BTM                    Document 118               Filed 01/07/15           PageID.581             Page 3 of 5
AD 2458 (CASD) (Rev.8111) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3      of        5
DEFENDANT: JAVIER RODRIGUEZ-ZAPIEN [2]
CASE NUMBER: 06CRU94-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For oflenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controned substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests perl month during
the term of supervision, unless otherwise ordered by court.                                         --

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)l7) and 3583(d),
        The derendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the proba~ion officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant sha1l refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controned substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the prQbation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        06CR1194-BTM
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         AO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment-Page   - - i - of _--,,"5_ _
          DEFENDANT: JAVIER RODRIGUEZ-ZAPIEN [2]                                                      II
          CASE NUMBER: 06CR1194-BTM




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
      counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reeuter the United States illegally.
181 Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
      report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
      consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.



D Reside in a Sober Living Facility for One (1) year after release flom the RRC.
D Abstain from all use of Alcohol.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
.,    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
oo    Resolve all outstanding warrants within
      Complete
                                                           days.
                       . hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
       States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
     . suspended while the defendant is out of the United States after deportation, exclusion, or volnntary departure.              '




                                                                                                                                      06CRl194-BTM
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AD 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                      Judgment - Page _..;,.5---.,.. of   5
DEFENDANT: JAVIER RODRIGUEZ-ZAPIEN [2]                                                          D
CASE NUMBER: 06CR1194-BTM
                                                                      FINE

      The defendant shall pay a fine in the amonnt of _ _----'$_1-'5,-'00_0_.0_0_ _ _u,nto the United States of America.




          This sum shall be paid __ immediately.
                                  )C as follows:

           AT THE RATE OF $25.00 PER QUARTER THROUGH THE INMATE FINANCIAL RESPONSIBILITY
           PROGRAM WHILE THE DEFENDANT IS IN CUSTODY OF THE BOP, THEN AT THE RATE OF $200.00
           PER MONTH, WITH THE BALANCE DUE WITHIN 30 DAYS PRIOR TO TERMINATION OF
           SUPERVISED RELEASE.




          The Court has determined that the defendant ---=:do::,:e;:"s_ _ have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                     06CR1194-BTM
